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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NORTH DAKOTA
                                SOUTHWESTERN DIVISION

United States of America,                       )
                                                )
                Plaintiff,                      )       ORDER
                                                )
         vs.                                    )
                                                )
John Eric Hobert,                               )       Case No. 1:14-cr-190
                                                )
                Defendant.                      )


         Defendant his charged in an indictment with two offenses: conspiracy to possess with intent

to distribute and distribute a controlled substance; and possession of a firearm by convicted felon.

At the time the indictment was returned, defendant was incarcerated by the State of North Dakota

at the James River Correctional Center (JRCC) in Jamestown, North Dakota.

         On March 7, 2014, defendant made his initial appearance and was arraigned. His appearance

for these proceedings was secured by a writ of habeas corpus ad prosequendum. At the close of

these proceedings, defendant waived in open court his rights under the Interstate Agreement on

Detainers Act and was returned to State custody.

         On February 20, 2014, defendant filed a Motion for Release. He anticipates that he will be

released from State Custody on March 25, 2015. He requests that, upon his release from State

custody, this court permit him to reside at a residential facility with work release privileges pending

trial.

         On March 6, 2015, the Government filed a response to defendant’s motion. It avers there

is a presumption of detention in this case that defendant has not rebutted. It further avers that release

of defendant is not warranted given his extensive criminal history.

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        The court shall take defendant’s motion under advisement. When the United States

Marshal’s Service executes on its detainer and takes custody of defendant, the court shall contact

the parties to schedule a hearing on defendant’s motion as it previously intimated that it would hold

a detention hearing when defendant is released from State custody.

       IT IS SO ORDERED.

       Dated this 10th day of March, 2015.

                                                      /s/ Charles S. Miller, Jr.
                                                      Charles S. Miller, Jr., Magistrate Judge
                                                      United States District Court




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